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                                                      Tuesday, September 27, 2022 at 09:21:27 Central Daylight Time


Subject: Yee Produc*on - asser*on of privilege
Date: Wednesday, January 19, 2022 at 9:00:10 AM Central Standard Time
From: Yitz Kopel
To:      Boyle, Edward P., Dimon, Anna G., Alec Leslie, Cal Mayo

Ed and Anna:

It has come to my aPen*on that several of the documents in Dr. Yee's possession that are responsive to your
subpoena involve communica*ons between him and me concerning my inves*ga*on and prepara*on for this
li*ga*on. These documents cons*tute privileged aPorney work product. See Medinol, Ltd. v. Bos. Sci. Corp., 214
F.R.D. 113, 115 (S.D.N.Y. 2002) (“However, it is clear that disclosure of work product to a party sharing common
li*ga*on interests is not inconsistent with the policies of encouraging zealous advocacy and protec*ng privacy that
underlie the work product doctrine.”); see also id. (“The policy of sharing applies equally where an aPorney engages
the help of an accountant to assist with some aspect of li*ga*on, for the accountant is assis*ng the lawyer in
developing a li*ga*on objec*ve and is thus enhancing the work product.”); accord United States v. Kovel, 296 F.2d
918, 922 (2d Cir.1961) (ruling that accountant employed by tax law ﬁrm to assist ﬁrm in understanding client’s
conversa*ons does not waive privilege because accountant considered equivalent to a translator); Saraceni v. M&T
Bank Corp., 2021 WL 1758255, at *2 (W.D.N.Y. May 4, 2021) (“courts generally have ‘held that where the disclosing
party and the third party share a common interest, there is no waiver of the work product privilege.’ A disclosing
party and third party share a ‘common interest’ when they have a common interest in li*ga*on or legal strategy.”)
(ci*ng Merrill Lynch & Co., Inc. v. Allegheny Energy, Inc., 229 F.R.D. 441, 445 (S.D.N.Y. 2004)). Moreover, this privilege
would extend to any notes or memoranda taken as a result of these communica*ons.

We are happy to prepare and serve a privilege log of these communica*ons. Please let me know if you will agree to
the withholding of these documents. If not, we will seek to submit a joint lePer to the court pursuant to Rule VI(A)(1)
of Judge Kuo's Rules reques*ng for the court to quash the subpoena. Please kindly advise of your availability to
confer about this maPer by telephone. As I am traveling tomorrow, I would appreciate it if you can make *me for the
call today, but we can work out availability thereamer if that's not possible.

Thanks,

Yitz

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